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         Case MDL No. 2455 Document 147 Filed 07/10/18 Page 1 of 2                           2018 Jul-13 PM 02:22
                                                                                            U.S. DISTRICT COURT
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                              UNITED STATES JUDICIAL PANEL              . BRUTO    N
                                           on                 THOMA.SDG
                                                                      IS T R IC T COURT
                               MULTIDISTRICT LITIGATION    CLERK, U.S




IN RE: STERICYCLE, INC., STERI−SAFE
CONTRACT LITIGATION                                                                      MDL No. 2455



                                  (SEE ATTACHED SCHEDULE)



                               CONDITIONAL REMAND ORDER



The transferee court in this litigation has advised the Panel that coordinated or consolidated pretrial
proceedings in the action(s) on this conditional remand order have been completed and that remand
to the transferor court(s), as provided in 28 U.S.C. § 1407(a), is appropriate.

IT IS THEREFORE ORDERED that the action(s) on this conditional remand order be remanded to
its/their respective transferor court(s).

IT IS ALSO ORDERED that, pursuant to Rule 10.2 of the Rules of Procedure of the United States
Judicial Panel on Multidistrict Litigation, the transmittal of this order to the transferee clerk for
filing shall be stayed 7 days from the date of this order. If any party files a notice of opposition with
the Clerk of the Panel within this 7−day period, the stay will be continued until further order of the
Panel. This order does not become effective until it is filed in the office of the Clerk for the United
States District Court for the Northern District of Illinois.

IT IS FURTHER ORDERED that, pursuant to Rule 10.4(a), the parties shall furnish the Clerk for
the Northern District of Illinois with a stipulation or designation of the contents of the record to be
remanded.



                                                       FOR THE PANEL:



                                                       Jeffery N. Lüthi
       Jul 10, 2018
                                                       Clerk of the Panel
                                                                            A TRUE COPY-ATTEST
                                                                         THOMAS G. BRUTON,
                                                                                         -      CLERK
                                                                             By: s/ SHEILA MOORE
                                                                                DEPUTY CLERK
                                                                      U.S. DISTRICT COURT, NORTHERN
                                                                             DISTRICT OF - ILLINOIS
                                                                                  July 12, 2018
        Case 7:16-cv-00459-TMP Document 9 Filed 07/13/18 Page 2 of 4
         Case MDL No. 2455 Document 147 Filed 07/10/18 Page 2 of 2



IN RE: STERICYCLE, INC., STERI−SAFE
CONTRACT LITIGATION                                                          MDL No. 2455



                                  SCHEDULE FOR CRO


   TRANSFEREE             TRANSFEROR
 DIST DIV. C.A.NO.      DIST DIV. C.A.NO.     CASE CAPTION
                                              Surgical Specialists of Alabama, P.C. et al v.
  ILN    1   16−04142   ALN   7    16−00459   Stericycle Inc et al
                                              Comprehensive Outpatient Surgery Center, LP
  ILN    1   16−05512   CAC   2    16−03144   v. Stericycle, Inc. et al
                                              Manhattan Nursing and Rehabilitation Center,
  ILN    1   14−02747   MSS   3    14−00275   LLC v. Stericycle, Inc.
  ILN    1   15−02898   NCM   1    15−00224   Mazur, DPM et al., v. Stericycle, Inc.
    Case: Case
          1:13-cv-05795
          Case 7:16-cv-00459-TMP
                MDL No.Document
                        2455 Document
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION
                                                  )              Case No. 1:13-cv-05795
IN RE: STERICYCLE, INC.,                          )                 MDL No. 2455
STERI-SAFE CONTRACT LITIGATION                    )
                                                  )           Judge Robert W. Gettleman
                                                  )

                     ORDER RECOMMENDING TO THE JUDICIAL
                PANEL ON MULTIDISTRICT LITIGATION THAT CERTAIN
                 CASES BE REMANDED TO THE TRANSFEROR COURTS

       On the Court’s own motion to recommend remand of cases to the Judicial Panel on

Multidistrict Litigation and following consultation with Plaintiffs Lyndon Veterinary Clinic,

PLLC, et al. (collectively, “Plaintiffs”) and Defendant Stericycle, Inc. (“Stericycle” and

together with Plaintiffs, the “Parties”), IT IS HEREBY ORDERED THAT:

       (a) The above-captioned multidistrict litigation was resolved by way of a class action

settlement (the “Settlement”). See Final Approval Order (Dkt. #382). Final Judgment was

entered on May 8, 2018. See Final Judgment (Dkt. #422).

       (b) There are, however, plaintiffs in the cases that were transferred to this multidistrict

litigation that properly opted out of that Settlement and whose cases, therefore, have not been

resolved.

       (c) Because the bulk of the multidistrict litigation has been resolved by judgment upon

stipulation except for those who opted out of the Settlement, the Court believes that remand

would be appropriate for the following cases:

            •   Manhattan Nursing and Rehabilitation Center, LLC, et al. v. Stericycle, Inc.,
                Case No. 14-cv-02747 (originally filed S.D. Miss. No. 14-cv-00275); 1


1
 Two plaintiffs in this action, Asbury, Inc. and Christian Home for the Aged, Inc., did not opt
out of the Settlement and have fully resolved their claims.


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   Case: Case
         1:13-cv-05795
         Case 7:16-cv-00459-TMP
               MDL No.Document
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           •    Mazur, DPM v. Stericycle, Inc., Case No. 15-cv-02898 (originally filed in
                (M.D.N.C. Case No. 15-cv-00224);

           •    Surgical Specialists of Alabama, P.C., et al. v. Stericycle, Inc., et al., Case No.
                16-cv-04142 (originally filed in N.D. Ala. Case No. 16-cv-00459); and

            •   Comprehensive Outpatient Surgery Center, LP v. Stericycle, Inc., et al., Case
                No. 16-cv-05512 (originally filed in C.D. Cal. Case No. 16-cv-03144).

        (d) Accordingly, the Court recommends to the Judicial Panel on Multidistrict

Litigation that the cases listed in Paragraph (c) above be remanded to their transferor courts for

any further litigation.



Dated: June 28, 2018                   __________________________________________
                                             Honorable Robert W. Gettleman
                                             United States District Court Judge




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